

Matter of Bowers (2025 NY Slip Op 00138)





Matter of Bowers


2025 NY Slip Op 00138


Decided on January 9, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:January 9, 2025

PM-05-25
[*1]In the Matter of William Reynolds Bowers, an Attorney. (Attorney Registration No. 1482579.)

Calendar Date:January 6, 2025

Before:Garry, P.J., Aarons, Ceresia, Fisher and Mackey, JJ.

William Reynolds Bowers, Hilton Head, South Carolina, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
William Reynolds Bowers was admitted to practice by this Court in 1963 and lists a business address in Hilton Head, South Carolina with the Office of Court Administration. Bowers now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Bowers' application.
Upon reading Bowers' affidavit sworn to October 18, 2024 and filed November 25, 2024, Bowers' supplemental affidavit sworn to December 4, 2024 and filed December 20, 2024 and upon reading the December 30, 2024 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Bowers is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.

Garry, P.J., Aarons, Ceresia, Fisher and Mackey, JJ., concur.
ORDERED that William Reynolds Bowers' application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that William Reynolds Bowers' name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that William Reynolds Bowers is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Bowers is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that William Reynolds Bowers shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








